Case 2:Ol-cr-OOO71-I\/|V Document 74 Filed 03/15/04 Page 1 of 2

IN THE UNITED STATES OF .»\MERlCA

F||_ED

FOR THE DlSTR]CT OF NE\V l\'lEXlCO JNt_ia_._ "_i_l Fr`!§ \`swl"rt"t.;l)l :.T':q

UNITED STATF.S OF AMF.R|CA. 04 HAR 15 AH ||; |2

Plaintiff.. _, _ f _
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\’S- CR l\'o. 01-07_1 MV 7`. r‘.' -` *.'~; =13"!.-".»'.<`

tV.llCHAEL ESTRADA,

Defendant.

SECOND STIPUI.ATED MOTlON TO RELEASE Dl'll~`ENDANT FOR
lNPATIENT DRUG REHABII.|TATION

COMES NOW, Michael Estrada. the above named de[`endant. by and through his
attorney, Dennis J. C.`andelaria. Assistant Federal Public De|`ender. and submits the following
motion to release .\/lr. Estrada to receive irl-patient drug treatment and rehabilitation at the \"ucca
Loclge in Bayard. New Mexico. ln support of the motion it is states as follows:

1. The l"ederal Public Del"ender`s Offtce requests that the Dona Ana County
Detention C enter release Mr. Estrada to its in\'estigator, Mr. 'l`im Kling or to an
agent of the l"ederal Publie Def`ender’s Ot`t'tee who will transport him to the l\'ew
Mexico Rehabilitation Treatment Program at 31 Dale Harris Street, Roswell. New
Mexico. on March 29, 2004, at 9:00 a.m.

2. Assistant U.S. Attomey, Terry Abemathy. does not oppose this motion.

3. U.S. Probation Oft`tcer, Robert Rosenbloom. does not oppose this motion.

WHF.REFORE. Defendant . Mr. Estrada requests this (` ourt to issue and Order pemtitting
Mr. Estrada to be released to an agent of the F ederal Public Det`ender`s Oft'lee to attend the New

Mexico Rehabilitation Center.

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Respeett`ully Submitted,

Fl;`DF.RAL Pl_|BI_.lC DEFENDER
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t)‘t:"€ jts t CANDELAR\A
Assistant Federal Public Det`ender

   

 

C`ERT|FICATE OF SER\-"l(.`E

l HEREBY CF.RTIFY that a true copy of the foregoin;_I pleading was served upon A_ssistant
United States Attorney, Terry Abernathy, and United States Probation Of`f'icer. Robert Rosenboom,
by placing same in the Assistant United States Attomey s box and U.S. Probation Ot`fice’s box at
the clerk’s office ot` the United States District C ourt in Las C`ruces. t\'cw Mexico, this 15th day of

Mm ch., ...:()04. \
[\/ !fJ v

oN¢its J. CANDELAR|A

